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                             EXHIBIT E

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv- 2680


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO, CITY
   OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



          Defendants.



                                  Expert Report of Louis Klarevas




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                             EXPERT REPORT OF LOUIS KLAREVAS

   I, Louis Klarevas, declare:
          1.       I have been asked by the Defendants to prepare an Expert Report addressing

   recent trends in mass shootings in the United States, the use of assault weapons and large-

   capacity magazines (LCMs) in mass shootings and the impact on fatalities and harm caused, and

   how restrictions on assault weapons and LCMs have affected mass shooting violence. This

   Report is based on my own personal knowledge and experience, and, if I am called as a witness,

   I could and would testify competently to the truth of the matters discussed in this Report

   (“Report” hereinafter).

                                 PROFESSIONAL QUALIFICATIONS
          2.       I am a security policy analyst and, currently, Research Professor at Teachers

   College, Columbia University, in New York. I am also the author of the book Rampage Nation,

   one of the most comprehensive studies on gun massacres in the United States.1

          3.       I am a political scientist by training, with a B.A. from the University of

   Pennsylvania and a Ph.D. from American University. During the course of my nearly 25-year

   career as an academic, I have served on the faculties of George Washington University, the City

   University of New York, New York University, and the University of Massachusetts. I have also

   served as Defense Analysis Research Fellow at the London School of Economics and Political

   Science and as United States Senior Fulbright Scholar in Security Studies at the University of

   Macedonia.

          4.       My current research examines the nexus between American public safety and gun

   violence, including serving as an investigator in a study funded by the National Institutes of

   Health that focuses on reducing intentional shootings at elementary and secondary schools.

          5.       In addition to having made over 100 media and public-speaking appearances, I

   am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces. In


          1
              Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
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   2019, my peer-reviewed article on the effectiveness of restrictions on LCMs in reducing high-

   fatality mass shootings that result in six or more victims killed was published in the American

   Journal of Public Health.2 This study found that jurisdictions with LCM bans experienced

   substantially lower gun massacre incidence and fatality rates when compared to jurisdictions not

   subject to similar bans. Despite being over 3 years old now, this study continues to be one of the

   highest impact studies in academia. It was recently referred to as “the perfect gun policy study,”

   in part due to the study’s “robustness and quality.”3

          6.      Since January 1, 2019, I have been deposed, testified in court, or testified by

   declaration in the following cases (all in federal court), listed alphabetically by state:

    California – Central District
    Rupp v. Bonta                                                              8:17-cv-00746-JLS-JDE
    California – Eastern District
    Wiese v. Bonta                                                           2:17-cv-00903-WBS-KJN
    California – Southern District
    Duncan v. Bonta                                                              17-cv-1017-BEN-JLB
    Jones v. Bonta                                                                19-cv-01226-L-AHG
    Miller v. Bonta                                                            3:19-cv-1537-BEN-JBS
    Nguyen v. Bonta                                                        3:20-cv-02470-WQH-MDD
    Colorado
    Gates v. Polis                                                          1:22-cv-01866-NYW-SKC
    Connecticut
    National Association for Gun Rights v. Lamont                                   3:22-cv-01118-JBA
    Hawaii
    National Association for Gun Rights v. Lopez                                1:22-cv-404-DKW-RT

          2
             Louis Klarevas, et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality
   Mass Shootings,” 109 American Journal of Public Health 1754 (2019), available at
   https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed February
   11, 2023).
          3
             Lori Ann Post and Maryann Mason, “The Perfect Gun Policy Study in a Not So Perfect
   Storm,” 112 American Journal of Public Health 1707 (2022), available at
   https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed February
   11, 2023). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
   and research design that was more rigorous than designs used in observational studies. Also,
   they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
   their findings, for example examining both state bans and federal bans. They helped build the
   foundation for future studies while overcoming the limitations of previous research.” Ibid.
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    Illinois – Northern District
    Viramontes v. Cook County                                                         1:21-cv-04595
    National Association for Gun Rights v. Highland Park                                22-cv-04774
    Herrera v. Raoul                                                                  1:23-cv-00532
    Illinois – Southern District
    Harrel v. Raoul*                                                                 23-cv-141-SPM
    Langley v. Kelly*                                                                23-cv-192-SPM
    Barnett v. Raoul*                                                                23-cv-209-SPM
    Federal Firearms Licensees of Illinois v. Pritzker*                              23-cv-215-SPM
    Kenneally v. Raoul                                                                3:23-cv-50039
    Massachusetts
    National Association for Gun Rights v. Campbell                              1:22-cv-11431-FDS
    Oregon
    Oregon Firearms Federation v. Kotek†                                           2:22-cv-01815-IM
    Fitz v. Rosenblum†                                                             3:22-cv-01859-IM
    Eyre v. Rosenblum†                                                             3:22-cv-01862-IM
    Azzopardi v. Rosenblum†                                                        3:22-cv-01869-IM
    Washington – Eastern District
    Brumback v. Ferguson                                                        1:22-cv-03093-MKD
            *
               Non-Consolidated Cases on the Same Briefing Schedule / †Consolidated Cases
          7.       In 2021, I was retained by the Government of Canada in the following cases

   which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

   K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

   569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

   Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

   File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

   No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

   T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:

   T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

   Federal Court of Canada.

          8.       I have also submitted declarations in the following state court cases: People of

   Colorado v. Sgaggio, District Court, El Paso County, Colorado, 2022M005894 (Criminal); and

   Guardian Arms v. Inslee, Superior Court, Grant County, Washington, 23-2-00377-13 (Civil).


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          9.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

   this Report.

          10.     I am being compensated at a rate of $480/hour for my work on this Report,

   $600/hour for any testimony in connection with this matter, and $120/hour for travel required to

   provide testimony.

                                                OPINIONS
          11.     It is my professional opinion, based upon my extensive review and analysis of the

   data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

   presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

   problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

   and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

   that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

   fatalities are relatively modern phenomena in American history, largely related to the use of

   assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

   frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to

   rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

   the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

   high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict
   assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

   weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

   gun massacres.4



          4
             For purposes of this Report, mass shootings are defined in a manner consistent with my
   book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
   shootings resulting in four or more victims being shot (fatally or non-fatally), regardless of
   location or underlying motive. As a subset of mass shootings, “high-fatality mass shootings”
   (also referred to as “gun massacres”) are defined as shootings resulting in 6 or more victims
   being shot to death, regardless of location or underlying motive. The data on high-fatality mass
   shootings is from a data set that I maintain and continuously update. This data set is reproduced
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   I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

            12.      Examining mass-casualty acts of violence in the United States since 1991 points

   to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

   intentional criminal violence in the United States since the terrorist attack of September 11,

   2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

   fatality mass shooting violence is on the rise. To put the increase over the last three decades into

   perspective, between the 1990s and the 2010s, the average population of the United States

   increased approximately 20%. However, when the number of people killed in high-fatality mass
   shootings in the 1990s is compared to the number killed in such incidents in the 2010s, it reflects

   an increase of 260%. In other words, the rise in gun massacre violence has far outpaced the rise

   in national population—by a factor of 13. The obvious takeaway from these patterns and trends

   is that mass shootings pose a significant—and growing—threat to American public safety.


   Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

            Deaths             Date                       Location                Type of Violence
        1     60          October 1, 2017              Las Vegas, NV               Mass Shooting
        2     49           June 12, 2016                Orlando, FL                Mass Shooting
        3     32           April 16, 2007             Blacksburg, VA               Mass Shooting
        4     27         December 14, 2012             Newtown, CT                 Mass Shooting
        5     25         November 5, 2017          Sutherland Springs, TX          Mass Shooting
        6     23          August 3, 2019                El Paso, TX                Mass Shooting
        7     21           May 24, 2022                 Uvalde, TX                 Mass Shooting




   in Exhibit C. Unless stated otherwise, all of the data used to perform original analyses and to
   construct tables and figures in Sections I, II, and VI of this Report are drawn from Exhibit C.
            5
             Because the analysis in Section VI of this Report necessarily uses data from 1991
   through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
   I and II also use data from 1991 through 2022.
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   Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

                  7

                  6

                  5

                  4

                  3

                  2

                  1

                  0




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the x-
   axis and y-axis variables, the trendline moves upwards from left to right. When there is a
   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.


   Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

                      100


                       80


                       60


                       40


                       20


                        0




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the x-
   axis and y-axis variables, the trendline moves upwards from left to right. When there is a
   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.

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   II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
          MASS SHOOTING VIOLENCE

          13.     In addition to showing that the frequency and lethality of high-fatality mass

   shootings are on the rise nationally, the data point to another striking pattern: both assault

   weapons and LCMs are being used with increased frequency to perpetrate gun massacres.6 As

   shown in Figures 3-4, based on high-fatality mass shootings where details allow a determination

   on the use of assault weapons and LCMs are available, over half of all incidents in the last four

   years involved assault weapons and all incidents in the last four years involved LCMs having a

   capacity greater than 10 bullets. As shown in Figures 5-6, a similar pattern emerges when
   examining deaths in high-fatality mass shootings in the last four years, with 62% of deaths

   resulting from incidents involving assault weapons and 100% of deaths resulting from incidents

   involving LCMs having a capacity greater than 10 bullets. These trends demonstrate that, among

   perpetrators of gun massacres, there is a growing preference for using assault weapons and

   LCMs to carry out their attacks.7

          6
             Assault weapons are generally semiautomatic firearms that fall into one of the following
   three categories: assault pistols, assault rifles, and assault shotguns. For purposes of this Report,
   unless otherwise stated, assault weapons are defined and coded in a manner consistent with
   Exhibit C. Per the 1994 federal ban definition, LCMs are generally ammunition-feeding devices
   with a capacity greater than 10 bullets. The ammunition threshold of the 1994 federal definition
   (greater than 10 bullets) is identical to that of the definition of LCMs in the ordinances of all four
   jurisdictions that are parties in the present case. For purposes of this Report, unless otherwise
   stated, LCMs will be defined in a manner consistent with the 1994 federal ban on LCMs, which
   defined them as ammunition-feeding devices with a capacity greater than 10 bullets. While the
   term “assault weapons” as referenced in the present case is defined by law, the modern-day roots
   of the term can be traced back to the 1980s, when gun manufacturers branded military-style
   firearms with the label in an effort to make them more marketable to civilians. See, Violence
   Policy Center, Assault Weapons and Accessories in America (1988) (Attached as Exhibit D);
   Violence Policy Center, Bullet Hoses: Semiautomatic Assault Weapons—What Are They?
   What’s So Bad about Them? (2003) (Attached as Exhibit E); Phillip Peterson, Gun Digest
   Buyer’s Guide to Assault Weapons (2008) (Relevant Excerpt Attached as Exhibit F); and Erica
   Goode, “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times, January 16, 2013,
   available at https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
   complicated.html (last accessed January 24, 2023).
          7
            Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
   it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for two
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   Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
   1991-2022



         Last 4 Years                                     53%



         Last 8 Years                                    50%



        Last 16 Years                          38%



        Last 32 Years                       34%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


   Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds), 1991-2022



         Last 4 Years                                                                   100%



         Last 8 Years                                                                 97%



        Last 16 Years                                                          85%



        Last 32 Years                                                    77%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.


   of these 14 incidents, it is also not possible to determine whether they involved assault weapons.
   Therefore, the tables, figures, and percentages discussed in this section of the Report are based
   on calculations that only use data points from the incidents in which the involvement of assault
   weapons and/or LCMs could be determined.
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  Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
  Assault Weapons, 1991-2022



        Last 4 Years                                           62%




        Last 8 Years                                                 68%




       Last 16 Years                                    53%




       Last 32 Years                              46%


                       0%     20%          40%           60%               80%           100%


  Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


  Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
  LCMs (Ammunition Capacity Greater Than 10 Rounds), 1991-2022



        Last 4 Years                                                                          100%




        Last 8 Years                                                                         97%




       Last 16 Years                                                                   90%




       Last 32 Years                                                             84%


                       0%     20%          40%           60%               80%           100%


  Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.



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         14.      The growing use of assault weapons to carry out high-fatality mass shootings is

  an obvious theme reflected in the data. The disproportionate resort to assault weapons by

  perpetrators of high-fatality mass shootings is another clear theme. Based on National Sport

  Shooting Foundation (NSSF) and federal government data, “modern sporting rifles”—which is a

  firearm industry term for AR-15-platform and AK-47-platform firearms—make up

  approximately 5.3% of all firearms in circulation in American society, according to the most

  recent publicly available data (24.4 million out of an estimated 461.9 million firearms).8 And, in

  all likelihood, this is an over-estimation because the figures appear to include firearms belonging

  to law enforcement agencies in the United States.9 But even using this estimate, if assault

  weapons were used in proportion to the percentage of modern sporting rifles in circulation,

  approximately 5% of all high-fatality mass shootings would involve assault weapons. However,

  as seen in Figure 3 above, civilian ownership rates and mass-shooter use rates are not similar.

  Indeed, the current difference is approximately ten-fold, with the rate at which assault weapons

         8
            The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
  Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
  there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
  as of the end of 2020 (when the most recent data are available). NSSF, “Commonly Owned:
  NSSF Announces over 24 Million MSRs in Circulation,” July 20, 2022, available at
  https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-
  circulation (last accessed January 3, 2023). In a 2020 report that captured data through the end
  of 2018, the NSSF estimated that there were 433.9 million total firearms in civilian circulation in
  the United States. NSSF, Firearm Production in the United States with Firearm Import and
  Export Data, Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
  content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed January 3, 2023).
  According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
  civilian stock nationwide. ATF, National Firearms Commerce and Trafficking Assessment:
  Firearms in Commerce (2022), at 181, 188, 193, available at
  https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-
  assessment-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming
  these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
  firearms in civilian circulation through the end of 2020 to approximately 461.9 million. The
  ownership rate is calculated as follows: 24.4 million modern sporting rifles divided by 461.9
  million total firearms equals approximately 5.3%.
         9
             ATF, 2022, supra note 8, at 12; NSSF, 2020, supra note 8, at 2-3.
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  are now used to commit gun massacres far outpacing the rate at which modern sporting rifles

  circulate amongst civilians in the United States.10

          15.    Another pattern that stands out when examining the relationship between assault

  weapons use and gun massacre violence reflects the disproportionately greater lethality

  associated with the use of assault weapons and LCMs. For instance, returning to the

  aforementioned list of the seven deadliest individual acts of intentional criminal violence in the

  United States since the coordinated terrorist attack of September 11, 2001, besides all seven of

  the incidents being mass shootings, six of the seven incidents (86%) involved assault weapons

  and LCMs, as shown in Table 2. When examining all high-fatality mass shootings since 1991,

  the relationship between assault weapons use, LCM use, and higher death tolls is striking. In the

  past 32 years, assault weapons and LCMs with an ammunition capacity greater than 10 rounds

  have been used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as

  the fatality thresholds of such incidents increase, so too do the shares of incidents involving

  assault weapons and LCMs. For instance, assault weapons and LCMs were used, respectively, in

  75% and 100% of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data

  show, there is an association between mass shooting lethality and the use of assault weapons and

  LCMs.




          10
           Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
  no way to perform a similar comparison using LCMs instead of modern sporting rifles.
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  Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
  Criminal Violence in the U.S. since 9/11

                                                            Involved               Involved
                                                             Assault                LCMs
   Deaths         Date                   Location           Weapons            ( > 10 Rounds )
     60        10/1/2017              Las Vegas, NV         ✓ (AR-15)                 ✓
     49        612/2016                Orlando, FL          ✓ (AR-15)                 ✓
     32        4/16/2007             Blacksburg, VA                                   ✓
     27       12/14/2012              Newtown, CT           ✓ (AR-15)                 ✓
     25        11/5/2017          Sutherland Springs, TX    ✓ (AR-15)                 ✓
     23         8/3/2019               El Paso, TX          ✓ (AK-47)                 ✓
     21        5/24/2022               Uvalde, TX           ✓ (AR-15)                 ✓


  Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
  Fatality Threshold, 1991-2022



       More Than 40 Deaths                                                          100%



       More Than 20 Deaths                                             75%



       More Than 10 Deaths                                       61%



        More Than 5 Deaths                       34%


                             0%       20%        40%       60%         80%       100%


  Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.




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  Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs (Ammunition
  Capacity Greater Than 10 Rounds) by Fatality Threshold, 1991-2022



       More Than 40 Deaths                                                                 100%



       More Than 20 Deaths                                                                 100%



       More Than 10 Deaths                                                             94%



        More Than 5 Deaths                                                  77%


                             0%       20%         40%          60%         80%         100%


  Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.

         16.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

  firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

  toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

  the 60 incidents in which it is known assault weapons were not used (which resulted in 490

  fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

  shootings since January 1, 1991, in which LCM use was determined, 61 involved LCMs with an

  ammunition capacity greater than 10 rounds, resulting in 704 deaths. The average death toll for
  these 61 incidents is 11.5 fatalities per shooting. The average death toll for the 18 incidents in

  which it is known LCMs were not used (which resulted in 132 fatalities) is 7.3 fatalities per

  shooting (Table 4). In other words, in the last 32 years, the use of assault weapons and LCMs in

  gun massacres has resulted, correspondingly, in 67% and 58% increases in average fatalities per

  incident (Tables 3-4).

         17.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

  are attributable to assault weapons beyond deaths associated with the use of LCMs. When


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  LCMs with an ammunition capacity greater than 10 rounds are not used, the average death toll is

  7.3 fatalities. When LCMs are used, but not in conjunction with assault weapons, the average

  death toll is 9.2 fatalities. When LCMs are used with assault weapons, the average death toll is

  14.0 fatalities. The data show that using LCMs without an assault weapon resulted in a 26%

  increase in the average death toll. However, using LCMs with an assault weapon resulted in a

  52% increase in the average death toll associated with incidents that involved LCMs without

  assault weapons and a 92% increase in the average death toll associated with incidents that

  involved neither LCMs nor assault weapons.

         17.     This review of the data suggests that assault weapons and LCMs are force

  multipliers when used in mass shootings.


  Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
  Fatality Mass Shootings in the U.S., 1991-2022


                        Average Death Toll for       Average Death Toll for
                        Incidents That Did Not       Incidents That Did        Percent Increase in Average
                        Involve the Use of Assault   Involve the Use of        Death Toll Associated with
                        Weapons                      Assault Weapons           the Use of Assault Weapons
   1991-2022                    8.2 Deaths                  13.7 Deaths                    67%

  Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



  Table 4. The Average Death Tolls Associated with the Use of LCMs (Ammunition
  Capacity Greater Than 10 Rounds) in High-Fatality Mass Shootings in the U.S., 1991-2022


                        Average Death Toll for       Average Death Toll for    Percent Increase in Average
                        Incidents That Did Not       Incidents That Did        Death Toll Associated with
                        Involve the Use of LCMs      Involve the Use of LCMs   the Use of LCMs
   1991-2022                    7.3 Deaths                  11.5 Deaths                    58%

  Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.




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  Table 5. The Average Death Tolls Associated with the Use of LCMs (Ammunition
  Capacity Greater Than 10 Rounds) and Assault Weapons in High-Fatality Mass Shootings
  in the U.S., 1991-2022


   Average                                                                  Average
   Death Toll   Average                 Average      Average                Death       Average
   for          Death Toll              Death Toll   Death                  Toll for    Death
   Incidents    for                     for          Toll for               Incidents   Toll for
   Not          Incidents               Incidents    Incidents              Not         Incidents
   Involving    Involving               Involving    Involving              Involving   Involving
   LCMs or      LCMs but     Percent    LCMs but     LCMs        Percent    LCMs or     LCMs        Percent
   AWs          Not AWs      Increase   Not AWs      and AWs     Increase   AWs         and AWs     Increase
       7.3          9.2        26%          9.2         14.0       52%         7.3         14.0       92%


  Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons
  and/or LCMs were used.


  III.    DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
          PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
          ASSAULT WEAPONS


          18.     I have also examined the historical occurrence and distribution of mass shootings

  resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9).11 In terms of the origins

  of this form of extreme gun violence, there is no known occurrence of a mass shooting resulting

  in double-digit fatalities during the 173-year period between the nation’s founding in 1776 and

  1948. The first known mass shooting resulting in 10 or more deaths occurred in 1949. In other

  words, for 70% of its 247-year existence as a nation, the United States did not experience a




          11
            I searched for firearm-related “murders,” using variations of the term, setting a
  minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
  available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
  Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
  large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
  attacks initiated by authorities acting in their official capacity were excluded.
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  single mass shooting resulting in double-digit fatalities. They are relatively modern phenomena

  in American history.12

         19.       After the first such incident in 1949, 17 years passed until a similar mass shooting

  occurred in 1966. The third such mass shooting then occurred nine years later, in 1975. And the

  fourth such incident occurred seven years after, in 1982. Basically, the first few mass shootings

  resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

  first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

  gap between these first four incidents shrank with each event (Table 6 and Figure 10).13




         12
           Using the Constitution’s effective date of 1789 as the starting point would lead to the
  conclusion that, for 68% of its 234-year existence as a nation, the United States did not
  experience a mass shooting resulting in double-digit fatalities.
         13
              Figures 9-10 are reproduced in larger form as Exhibit G of this Report.
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  Table 6. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022

                                                                  Involved
                                                                   Assault         Involved
            Date                 Location              Deaths     Weapon(s)        LCM(s)
    1       9/6/1949           Camden, NE                13          N                N
    2       8/1/1966            Austin, TX               14          N                Y
    3      3/30/1975          Hamilton, OH               11          N                N
    4      9/25/1982        Wilkes-Barre, PA             13          Y                Y
    5      2/18/1983           Seattle, WA               13          N                N
    6      4/15/1984          Brooklyn, NY               10          N                N
    7      7/18/1984         San Ysidro, CA              21          Y                Y
    8      8/20/1986           Edmond, OK                14          N                N
    9     10/16/1991           Killeen, TX               23          N                Y
   10      4/20/1999           Littleton, CO             13          Y                Y
   11      4/16/2007         Blacksburg, VA              32          N                Y
   12      3/10/2009       Geneva County, AL             10          Y                Y
   13       4/3/2009         Binghamton, NY              13          N                Y
   14      11/5/2009          Fort Hood, TX              13          N                Y
   15      7/20/2012            Aurora, CO               12          Y                Y
   16     12/14/2012          Newtown, CT                27          Y                Y
   17      9/16/2013         Washington, DC              12          N                N
   18      12/2/2015       San Bernardino, CA            14          Y                Y
   19      6/12/2016           Orlando, FL               49          Y                Y
   20      10/1/2017          Las Vegas, NV              60          Y                Y
   21      11/5/2017      Sutherland Springs, TX         25          Y                Y
   22      2/14/2018           Parkland, FL              17          Y                Y
   23      5/18/2018           Santa Fe, TX              10          N                N
   24     10/27/2018          Pittsburgh, PA             11          Y                Y
   25      11/7/2018       Thousand Oaks, CA             12          N                Y
   26      5/31/2019       Virginia Beach, VA            12          N                Y
   27       8/3/2019           El Paso, TX               23          Y                Y
   28      3/22/2021           Boulder, CO               10          Y                Y
   29      5/14/2022           Buffalo, NY               10          Y                Y
   30      5/24/2022            Uvalde, TX               21          Y                Y

  Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
  weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
  1994 Federal Assault Weapons Ban or (2) the statutes of the state where the gun massacre
  occurred. An incident was coded as involving an LCM if at least one of the firearms discharged
  had an ammunition-feeding device holding more than 10 bullets.




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  Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022




  Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022




         20.     The distribution of double-digit-fatality mass shootings changes in the early

  1980s, when five such events took place in a span of just five years (Table 6 and Figure 10).
  This timeframe also reflects the first time that assault weapons were used to perpetrate mass

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  shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

  AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

  pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

  in which only two double-digit-fatality mass shootings occurred (Figure 10). This period of time

  from 1987-2007 correlates with three important federal firearms measures: the 1986 Firearm

  Owners Protection Act, the 1989 C.F.R. “sporting use” importation restrictions, and the 1994

  Federal Assault Weapons Ban.

         21.     It is well-documented in the academic literature that, after the Federal Assault

  Weapons Ban expired in 2004, mass shooting violence increased substantially.14 Mass shootings

  that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

  from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

  fatalities (a frequency rate of one incident every 5.6 years). In the 18 years since 2004, there

  have been 20 double-digit-fatality mass shootings (a frequency rate of one incident every 0.9

  years). In other words, the frequency rate has increased over six-fold since the Federal Assault

  Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

  impact on mass shooting violence is discussed in further detail in Section VI of this Report.)

         22.     Over three-quarters of the mass shootings resulting in 10 or more deaths involved

  assault weapons and/or LCMs (Table 6). As also shown in the analyses of mass shootings in
  Section II, death tolls in double-digit-fatality mass shootings are related to the use of firearm




         14
           See, for example, Louis Klarevas, supra note 1 (Relevant Excerpt Attached as Exhibit
  H); Louis Klarevas, et al., supra note 2 (Attached as Exhibit I); Charles DiMaggio, et al.,
  “Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
  Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery 11 (2019)
  (Attached as Exhibit J); Lori Post, et al., “Impact of Firearm Surveillance on Gun Control
  Policy: Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance (2021)
  (Attached as Exhibit K); and Philip J. Cook and John J. Donohue, “Regulating Assault Weapons
  and Large-Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022 (Attached as
  Exhibit L).
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  technologies like assault weapons and LCMs that, in terms of mass shootings, serve as force

  multipliers.


  IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN SELF-
         DEFENSE DURING ACTIVE SHOOTINGS

         23.     An important question that, until now, has gone unanswered is: Are assault

  weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

  above in Section II, assault weapons have been used to perpetrate approximately one-third of

  high-fatality mass shootings in the past 32 years (Figure 3). And in the past eight years, the
  share of high-fatality mass shootings that have been perpetrated with assault weapons has risen

  to approximately half (Figure 3).

         24.     The Federal Bureau of Investigation (FBI) has been documenting active shooter

  incidents since 2000.15 According to the FBI, active shootings are violent attacks that involve

  “one or more individuals actively engaged in killing or attempting to kill people in a populated

  area.”16 A simple way to conceptualize active shooter incidents is to think of them as attempted

  mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

  that involved armed civilians using their personal firearms to intervene, regardless of whether the

  interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).


         15
            All of the information in this section, including definitions and data, are publicly
  available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
  https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
  accessed January 2, 2023).
         16
             FBI, Active Shooter Incidents in the United States in 2022, April 2023, at 1, available
  at https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-2022-042623.pdf/view
  (last accessed May 4, 2023). The FBI adds, “Implicit in this definition is the shooter’s use of one
  or more firearms. The active aspect of the definition inherently implies the ongoing nature of the
  incidents, and thus the potential for the response to affect the outcome.” Ibid. (emphasis in
  original). In addition to the report on incidents in 2022, the FBI has published seven other
  reports on active shooter incidents covering the following seven time periods: 2000-2013, 2014-
  2015, 2016-2017, 2018, 2019, 2020, and 2021. All of these reports are available at the FBI’s
  “Active Shooter Safety Resources” website, supra note 15.
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         25.     In the 23 years between January 1, 2000 and December 31, 2022, the FBI has

  identified 456 active shootings occurring in the United States. Out of these 456 active shooter

  incidents, 18 incidents (3.9%) involved defensive gun uses (DGUs) by civilians, excluding law

  enforcement or armed security.17 Of these 18 DGUs, the firearm used by an armed private

  citizen intervening was identifiable in 17 incidents; 14 involved handguns and the remaining

  three involved long guns (one shotgun, one bolt-action rifle, and one assault rifle).18 In other

  words, out of the 17 incidents where an armed civilian intervened and it was possible to identify

  the DGU firearm, only one incident (5.9%) involved an assault weapon.19 Within the broader

  context of all active shooter incidents, only one incident out of 456 in the past 23 years (0.2%) is

  known to have involved an armed civilian intervening with an assault weapon.20

         17
            In 17 of the 18 DGU-involved active shooter incidents, there was an exchange of
  gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
  was used to detain the active shooter after the shooting had ceased. FBI, supra notes 15 and 16.
         18
            All 14 DGU incidents that involved handguns also involved armed civilians who held
  valid concealed-carry permits or were legally carrying their handguns. Ibid. In 12 of these 14
  incidents, details about the types of handguns used in self-defense were available in news media
  accounts or in news media photographs of the crime scene. In two of the 14 incidents, the use of
  concealed handguns was inferred based on details about the shooting reported in news media
  accounts. There is no evidence that either of these two DGU incidents involved an assault pistol.
         19
            The FBI also identifies an incident in which an armed individual (a local firefighter)
  subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
  his handgun during the incident. Ibid. Moreover, local authorities have refused to comment on
  whether the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
  Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
  https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
  sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 17 DGU-
  involved incidents would mean that 5.6% (as opposed to 5.9%) of the active shooter incidents,
  where an armed civilian intervened, involved an assault weapon.
         20
            FBI, supra notes 15 and 16. The one DGU that involved an assault weapon was the
  2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
  used an AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene.
  While the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed
  his vehicle trying to escape and then took his life with his own firearm before law enforcement
  could apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
  KHBS/KHOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
  texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
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         26.     The bottom line is that assault weapons are used by civilians with a far greater

  frequency to perpetrate mass shootings than to stop mass shootings.21


  V.     OWNERSHIP RATES OF “MODERN SPORTING RIFLES” IN THE U.S.

         27.     As noted above in Para. 13, based on the most recent publicly available NSSF and

  federal government data, modern sporting rifles—such as AR- and AK-platform firearms—

  appear to make up as many as 5.3% of all firearms in circulation in American society (24.4

  million out of an estimated 461.9 million firearms, although this is likely an overestimate due to

  the apparent inclusion of modern sporting rifles possessed by law enforcement agencies).
  Furthermore, in its most recent survey data (2022), the NSSF found that civilian owners of

  modern sporting rifles own, on average, 3.8 such rifles, with 24% of these owners possessing

  only one such rifle.22 Based on this data, only 6.4 million gun owners—out of an estimated 81

  million Americans who own at least one personal firearm—own modern sporting rifles.23 In

  other words, less than 8% of all civilian gun owners in the United States own modern sporting



         21
            Given the limitations of the active shooter incident data reported by the FBI, it is not
  possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
  with an LCM at the time of the intervention. As such, it is not possible to perform a similar
  comparison between mass shootings perpetrated with LCM-equipped firearms and mass
  shootings thwarted with LCM-equipped firearms.
         22
            NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
  Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
  https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
  accessed January 16, 2023).
         23
              The estimate that approximately 6.4 million gun owners possess what the NSSF
  considers to be modern sporting rifles is calculated by dividing the 3.8 average number of such
  rifles that each modern sporting rifle owner possesses into the 24.4 million such rifles estimated
  to be in civilian circulation. This calculation (24.4 million divided by 3.8) equals 6.4 million.
  Based on survey data, 81 million American adults are estimated to own guns. Andy Nguyen,
  “Proposed Assault Weapons Ban Won’t Turn Gun Owners into Felons Overnight,” PolitiFact,
  The Poynter Institute, August 3, 2022, available at
  https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
  ban-wont-turn-gun-owners- (last accessed January 16, 2023).
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  rifles.24 In terms of the total population of the United States, estimated by the Census Bureau to

  be approximately 333 million people in 2022, less than 2% of all Americans own a modern

  sporting rifle.25

          28.      In deriving its estimates, the NSSF often relies on United States government data,

  particularly ATF data.26 According to the ATF, from 1986 through 2020 (which reflects the

  most currently available data), the civilian stock of firearms in the United States has been made

  up predominantly of handguns.27 As Figure 11 shows, handguns account for 50% of the civilian

  stock of firearms, rifles account for 33%, and shotguns account for 17%.

          29.      According to ATF data, handguns are the most commonly owned firearms; not

  rifles, and most certainly not modern sporting rifles that qualify as assault weapons.28




          24
             The finding that less than 8% of all gun owners possess modern sporting rifles is
  calculated by dividing the 6.4 million modern sporting rifle owners by the 81 million American
  adults estimated to be gun owners. Taking 6.4 million and dividing it by 81 million equals 7.9%.
          25
            The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
  Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
  19 Pandemic,” December 22, 2022, available at https://www.census.gov/newsroom/press-
  releases/2022/2022-population-
  estimates.html#:~:text=DEC.,components%20of%20change%20released%20today (last
  accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
  sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners by the 333
  million persons in the United States. Taking 6.4 million and dividing it by 333 million equals
  1.9%.
          26
               NSSF, 2020, supra note 8.
          27
            For data on the number of firearms manufactured, imported, and exported, by category
  of firearm, from 2000-2020, see ATF, supra note 8. For similar data covering 1986-1999, see
  ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
  https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
  accessed January 16, 2023).
          28
           Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
  no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
  rifles.
                                                   24



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  Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020
                                     Shotguns
                                       17%




                                                                             Handguns
                                                                               50%

                            Rifles
                            33%




  VI.      RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
           MASSACRES, RESULTING IN LIVES SAVED

        VI.A.           THE OPERATIVE MECHANISM OF ASSAULT WEAPONS BANS: SUPPRESSION AND
                        SUBSTITUTION EFFECTS

           30.          As conceptualized in the Trinity of Violence model that I developed in my book

  on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a

  target (Figure 12).29 The key to mitigating violence is to “break the trinity” by hindering at least

  one of the three elements. This is accomplished by dissuading the potential offender(s), denying

  the potential instrument(s) of violence, or defending the potential victim(s).30

  Figure 12. The Trinity of Violence




           29
                Klarevas, supra note 1, at 27-29, 229-238.
           30
                Ibid.
                                                       25



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         31.     Bans are law-based concepts that prohibit certain behaviors by criminalizing

  them.31 Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

  transfer, own, or possess certain firearms and certain magazines. Bans work in relation to two of

  the three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,

  bans use the threat of criminal penalty to deter potential offenders from engaging in the

  prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

  imprisonment, and/or fines should an individual build or otherwise acquire a prohibited assault

  weapon or LCM. The primary mechanism at work here centers around dissuading potential

  shooters from trying to acquire banned firearm technologies. But there is also a secondary

  mechanism at work, focused on the assault weapon or LCM itself: deprive potential instruments

  of violence. Knowing that someone who is willing to commit murder might not be deterred from

  violating another criminal law, like possessing a prohibited item, bans on assault weapons and

  LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

  a restricted item to someone who is prohibited from acquiring it. This, in essence, reinforces the

  strategy of dissuading the offender with the strategy of denying the instruments of violence.

         32.     Ideally, someone intent on committing a mass shooting with an assault weapon

  and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

  are not available. In such a scenario, the attack would be quashed. This suppression effect is
  akin to what economists and psychologists refer to as a positive spillover effect, where one

  desirable outcome produces a second, loosely related desirable outcome.32 A real-world example

         31
           Philip J. Cook, “Research in Criminal Deterrence: Laying the Groundwork for the
  Second Decade,” 2 Crime and Justice 211 (1980) (Attached as Exhibit M); and Daniel S. Nagin,
  “Deterrence in the Twenty-First Century,” 42 Crime and Justice 199 (2013) (Attached as
  Exhibit N).
         32
            Paul Dolan and Mateo M. Galizzi, “Like Ripples on a Pond: Behavioral Spillovers and
  Their Implications for Research and Policy,” 47 Journal of Economic Psychology 1 (2015)
  (Attached as Exhibit O); K. Jane Muir and Jessica Keim-Malpass, “Analyzing the Concept of
  Spillover Effects for Expanded Inclusion in Health Economics Research,” 9 Journal of
  Comparative Effectiveness Research 755 (2020) (Attached as Exhibit P).
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  of this is the so-called “Matrix Killings,” where a 19-year-old Virginia man blamed The Matrix

  film for driving him to murder his parents with a shotgun (that did not have an LCM). At the

  time of the crime in 2003, the Federal Assault Weapons Ban was in effect, preventing him from

  obtaining an assault rifle and LCMs. In a 2013 jailhouse interview, he told CNN, “If I had an

  assault weapon, things would have been much worse.” He added that had he had an AR-15

  instead of a shotgun, he is positive that, after killing his parents, he would have gone on a

  rampage and “killed as many people as I possibly could.” As he noted, “because I didn’t have an

  assault weapon, that didn’t happen.”33 In this case, the unavailability of an assault weapon due

  to the federal ban appears to have suppressed the perpetrator’s impulse to commit a mass

  shooting.

          33.     Of course, some potential mass shooters will not be discouraged from going on a

  killing spree just because their means of choice are unavailable. They will instead replace their

  desired instruments of violence with available alternatives. This is commonly referred to as the

  substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal

  instrument of violence.34 A real-world example of the substitution effect at work is the 2019

  synagogue rampage in Poway, California. In that attack, the gunman appears to have been

  unable to acquire an assault rifle and LCMs due to California’s ban on both. Instead, he acquired

  what is known as a California-compliant semiautomatic rifle (which lacked features such as a
  pistol grip and a forward hand grip) and 10-round magazines. As a result, the gunman quickly

  ran out of bullets, and while pausing to reload—which appears to have been extremely difficult

  given that he did not have assault weapon features on his rifle that facilitated fast reloading—a


          33
             “Inside the Mind of a Killer,” CNN (Transcripts), August 23, 2013, available at
  https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/01 (last accessed January 24,
  2023).
          34
            Philip J. Cook, “The Effect of Gun Availability on Violent Crime Patterns,” 455
  Annals of the American Academy of Political and Social Science 63 (1981) (Attached as Exhibit
  Q); Anthony A. Braga, et al., “Firearm Instrumentality: Do Guns Make Violent Situations More
  Lethal?” 4 Annual Review of Criminology 147 (2021) (Attached as Exhibit R).
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  congregant chased him away, preventing him from continuing his attack.35 In this incident,

  which resulted in one death, California’s ban on assault weapons and LCMs worked exactly as

  intended. It deprived the active shooter of the mechanisms that might have allowed him to kill

  enough people to surpass the fatality threshold of a mass shooting. Stated differently, if you

  examine data sets that identify shootings resulting in mass murder, you will not find the Poway

  synagogue attack on their lists.

         34.     It might seem perverse to think that restrictions on certain instruments of violence

  operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

  alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

  work in theory. They suppress the inclinations of potential mass shooters to go on killing

  rampages in the first place because their means of choice are unavailable. And, should

  deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

  prohibited ones, reducing the casualty tolls of attacks when they do occur.

     VI.B.       THE OPERATIVE MECHANISM OF LCM BANS: FORCING PAUSES IN ACTIVE
                 SHOOTINGS

         35.     Restrictions on assault weapons and LCMs also address the multiple advantages

  LCMs provide to active shooters. Offensively, LCMs increase kill potential. Basically, the more

  bullets a shooter can fire at a target within a finite amount of time, the more potential wounds

  they can inflict. Furthermore, the more bullets that strike a victim, the higher the odds that that

  person will die. These two factors—sustained-fire capability and multiple-impact capability—

  allow LCMs to increase a shooter’s kill potential.

         36.     When inserted into either a semiautomatic or fully automatic firearm, an LCM

  facilitates the ability of an active shooter to fire a large number of rounds at an extremely quick

         35
            Elliot Spagat and Julie Watson, “Synagogue Shooter Struggled with Gun, Fled with 50
  Bullets,” Associated Press, April 30, 2019, available at https://apnews.com/article/shootings-
  north-america-us-news-ap-top-news-ca-state-wire-8417378d6b934a8f94e1ea63fd7c0aea (last
  accessed January 24, 2023).
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  rate without pause. This phenomenon—sustained-fire capability—comes in handy when a target

  is in a gunman’s line of sight for only a few seconds. For example, sustained-fire capability

  allows a reasonably competent shooter to fire three rounds per second with a semiautomatic

  firearm and ten rounds per second with an automatic firearm. That results in numerous chances

  to hit a target in a short window of opportunity, especially when ammunition capacity is large.

         37.     LCMs also facilitate the ability of a shooter to strike a human target with more

  than one round. This phenomenon—multiple-impact capability—increases the chances that the

  victim, when struck by multiple rounds, will die. At least two separate studies have found that,

  when compared to the fatality rates of gunshot wound victims who were hit by only a single

  bullet, the fatality rates of those victims hit by more than one bullet were over 60 percent

  higher.36 The implication is straightforward: being able to strike human targets with more than

  one bullet increases a shooter’s chances of killing their victims. In essence, LCMs are force

  multipliers when it comes to kill potential—and the evidence from gun massacres supports this

  conclusion (see Section II).

         38.     In addition to offensive advantages, LCMs also provide the defensive advantage

  of extended cover. During an active shooting, a perpetrator is either firing their gun or not firing

  their gun. While pulling the trigger, it is difficult for those in harm’s way to take successful

  defensive maneuvers. But if the shooter runs out of bullets, there is a lull in the shooting. This
  precious downtime affords those in the line of fire with a chance to flee, hide, or fight back.

         39.     There are several examples of individuals fleeing or taking cover while active

  shooters paused to reload. For instance, in 2012, several first-graders at Sandy Hook Elementary

  School in Newtown, Connecticut, escaped their attacker as he was swapping out magazines,



         36
           Daniel W. Webster, et al., “Epidemiologic Changes in Gunshot Wounds in
  Washington, DC, 1983–1990,” 127 Archives of Surgery 694 (June 1992) (Attached as Exhibit
  S); Angela Sauaia, et al., “Fatality and Severity of Firearm Injuries in a Denver Trauma Center,
  2000–2013,” 315 JAMA 2465 (June 14, 2016) (Attached as Exhibit T).
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  allowing them to exit their classroom and dash to safety.37 Other well-known examples include

  the 2007 Virginia Tech and the 2018 Borderline Bar and Grill rampages.38 There is also the

  possibility that someone will rush an active shooter and try to tackle them (or at the very least try

  to wrestle their weapon away from them) while they pause to reload.39 In recent history, there

  have been numerous instances of gunmen being physically confronted by unarmed civilians

  while reloading, bringing their gun attacks to an abrupt end. Prominent examples include the

  1993 Long Island Rail Road, the 2011 Tucson shopping center, the 2018 Nashville Waffle

  House, and the 2022 Laguna Woods church shooting rampages.40 When there are pauses in the

  shooting to reload, opportunities arise for those in the line of fire to take life-saving action.



         See Dave Altimari, et al., “Shooter Paused and Six Escaped,” Hartford Courant,
          37

  December 23, 2012 (Attached as Exhibit U).
          38
             Virginia Tech Review Panel, Mass Shootings at Virginia Tech, April 16, 2007: Report
  of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of Virginia,
  Revised with Addendum, November 2009, available at
  https://scholar.lib.vt.edu/prevail/docs/April16ReportRev20091204.pdf (last accessed February 1,
  2023); “California Bar Shooting: Witnesses Describe Escaping as Gunman Reloaded,” CBS
  News, December 7, 2018, available at https://www.cbsnews.com/news/borderline-bar-shooting-
  thousand-oaks-california-12-dead-witnesses-describe-gunman-storming-in (last accessed
  February 1, 2023).
          39
           The longer a shooter can fire without interruption, the longer they can keep potential
  defenders at bay. The longer potential defenders are kept from physically confronting a shooter,
  the more opportunity there is for the shooter to inflict damage.
          40
             See, Rich Schapiro, “LIRR Massacre 20 Years Ago: ‘I Was Lucky,’ Says Hero Who
  Stopped Murderer,” New York Daily News, December 7, 2013, available at
  http://www.nydailynews.com/new-york/nyc-crime/lirr-massacre-20-years-lucky-hero-stopped-
  murderer-article-1.1540846 (last accessed February 1, 2023); Sam Quinones and Nicole Santa
  Cruz, “Crowd Members Took Gunman Down,” Los Angeles Times, January 9, 2011, available at
  https://www.latimes.com/archives/la-xpm-2011-jan-09-la-na-arizona-shooting-heroes-20110110-
  story.html (last accessed February 1, 2023); Brad Schmitt, “Waffle House Hero: Could You
  Rush Toward a Gunman Who Just Killed People?” The Tennessean, April 24, 2018, available at
  https://www.tennessean.com/story/news/crime/2018/04/24/waffle-house-hero-could-you-rush-
  toward-gunman-who-just-killed-people/543943002 (last accessed February 1, 2023);
  “Parishioners Stop Gunman in Deadly California Church Attack,” NPR, May 16, 2022, available
  at https://www.npr.org/2022/05/16/1099168335/parishioners-stop-gunman-in-california-church-
  shooting (last accessed February 1, 2023).
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     VI.C.         BANS ON ASSAULT WEAPONS AND LCMS IN PRACTICE

         40.       In light of the growing threat posed by mass shootings, legislatures have enacted

  restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

  such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

  Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

  that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road

  commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to

  all 50 states plus the District of Columbia, bringing the entire country under the ban.41

         41.       Like the state bans on assault weapons and LCMs that were implemented before

  it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

  sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

  weapons and LCMs not legally owned by civilians prior to the date of the law’s effect

  (September 13, 1994).42 Congress, however, inserted a sunset provision in the law which

  allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

  Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

  In the aftermath of the federal ban’s expiration, mass shooting violence in the United States

  increased substantially.43

         42.       The legislative intent of the Town of Superior, the City of Boulder, the City of
  Louisville, and Boulder County in enacting the laws being challenged in the present case is

  similar to that of other legislative bodies that have restricted assault weapons and LCMs:



         41
           Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
  18 U.S.C. § 922(v), (w)(1) (1994)).
         42
            Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
  1994—and Why It Worked,” Washington Post, February 22, 2018, available at
  https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
  assault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
         43
              See sources cited supra note 14.
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  reducing gun violence, especially the frequency and lethality of mass shootings. Because, on

  average, the use of assault weapons and LCMs results in higher death tolls in mass shootings, the

  rationale for imposing restrictions on assault weapons and LCMs is to reduce the loss of life

  associated with the increased kill potential of such firearm technologies.

         43.     Currently, 32% of the U.S. population is subject to a ban on both assault weapons

  and LCMs. The following is a list of the eleven state-level jurisdictions that presently restrict

  both assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

  pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

  1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

  2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

  (August 29, 2022); Illinois (January 10, 2023); and Washington (April 25, 2023).44 As a

  reminder, from September 13, 1994 through September 12, 2004, the entire country was also

  subject to a federal ban on both assault weapons and LCMs.

         44.     In the field of epidemiology, a common method for assessing the impact of laws

  and policies is to measure the rate of onset of new cases of an event, comparing the rate when

  and where the laws and policies were in effect against the rate when and where the laws and

  policies were not in effect. This measure, known as the incidence rate, allows public health

  experts to identify discernable differences, while accounting for variations in the population,
  over a set period of time. Relevant to the present case, calculating incidence rates across states,

  in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

  during the period of observation, allows for the assessment of the effectiveness of such bans. In

  addition, fatality rates—the number of deaths, per population, that result from particular events




         44
            The dates in parentheses mark the effective dates on which the listed states became
  subject to bans on both assault weapons and LCMs.
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  across different jurisdictions—also provide insights into the impact bans on assault weapons and

  LCMs have on mass shooting violence.45

         45.     Since September 1, 1990, when New Jersey became the first state to ban both

  assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

  shootings in the United States (Exhibit C).46 Calculating incidence and fatality rates for this

  time period, across jurisdictions with and without bans on both assault weapons and LCMs,

  reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

  shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting

  fatality rates, regardless of whether assault weapons or LCMs were used (Table 7).47

         46.     When calculations go a step further and are limited to mass shootings involving

  assault weapons or LCMs, the difference between the two jurisdictional categories is even more

  pronounced. In the time period from January 1, 1991 through December 31, 2022, accounting

  for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

  in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

  Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

  resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).


         45
            For purposes of this Report, incidence and fatality rates are calculated using methods
  and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
  Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
  Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
  accessed January 3, 2023).
         46
             There were no state bans on both assault weapons and LCMs in effect prior to
  September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
  impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
  the last four months of 1990, extending the analysis back to September 1, 1990 would make no
  difference.
         47
           Between September 13, 1994 and September 12, 2004, the Federal Assault Weapons
  Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
  under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
  coded as being under a ban on both assault weapons and LCMs during the time frame that the
  Federal Assault Weapons Ban was in effect.
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          47.    All of the above epidemiological calculations lead to the same conclusion: when

  bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

  occur and fewer people die in such shootings—especially incidents involving assault weapons or

  LCMs, where the impact is most striking.

          48.    The main purpose of bans on assault weapons and LCMs is to restrict the

  availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

  weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

  attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

  lost.

          49.    Moreover, forcing active shooters to reload creates critical pauses in an attack.

  These pauses provide opportunities for people in the line of fire to take life-saving measures

  (such as fleeing the area, taking cover out of the shooter’s sight, and fighting back), which in turn

  can help reduce casualties.

          50.    The epidemiological data lend support to the policy choices of the Town of

  Superior, the City of Boulder, the City of Louisville, and Boulder County that seek to enhance

  public safety through restrictions on civilian access to certain firearms and magazines. While

  imposing constraints on assault weapons and LCMs will not prevent every mass shooting, the

  data suggest that legislative efforts to restrict such instruments of violence should result in lives
  being saved.




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